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10 Attorneys for United States of America

11                                 UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                          SAN JOSE DIVISION

14   UNITED STATES OF AMERICA,                   )   Case No. 18-CR-00258 EJD
                                                 )
15           Plaintiff,                          )   DECLARATION OF KELLY I. VOLKAR IN
                                                 )   SUPPORT OF UNITED STATES’ OPPOSITION
16      v.                                       )   TO DEFENDANT’S MOTION TO EXCLUDE
                                                 )   EVIDENCE AND ARGUMENT THAT
17   RAMESH “SUNNY” BALWANI,                     )   PHARMACEUTICAL REPORTS WERE
                                                 )   IMPROPERLY ALTERED
18           Defendant.                          )
                                                 )   Date: March 11, 2022
19                                               )   Time: 9:00 a.m.
                                                     Court: Hon. Edward J. Davila
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     VOLKAR DECL. ISO U.S.’ OPP’N TO DEF. MTE RE: PHARMA REPORTS,
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 1          I, Kelly I. Volkar, declare:

 2          1.     I am an Assistant United States Attorney (AUSA) representing the United States of

 3 America, the plaintiff in this case.

 4          2.     Attached hereto as Exhibit 1 is a true and correct copy of an April 16, 2010, email from

 5 Elizabeth Holmes to two representatives of Safeway, copying Sunny Balwani, with attachments,

 6 produced in discovery starting with Bates label THER-1717983.

 7          3.     Attached hereto as Exhibit 2 is a true and correct copy of a Schering-Plough-related

 8 report, titled “Assay Development Report / Theranos Systems Multiplexed Human IL-6, Human TNF-α,

 9 Human CRP (hs)”, produced in discovery starting with Bates label THER-6174514. The document as

10 collected and produced in discovery contains metadata fields, including a “Date_Created” field showing

11 “02/12/2010”, a “DocTitle” field showing “Multiplexed Panel Validation Report – External”, and a

12 “FilePath” field showing “C:\RT-12960\sbalwani\RE_times to talk\Multiplexed Panel Validation

13 Report_FDA-ICH.pdf”.

14          4.     Attached hereto as Exhibit 3 is a true and correct copy of an October 25, 2014, email

15 from Elizabeth Holmes to Jeffrey Blickman, copying Sunny Balwani, with a subject “Re: Reports for

16 Fremont”, produced in discovery starting with Bates label THPFM0000842601.

17          5.     Attached hereto as Exhibit 4 is a true and correct copy of an October 27, 2014, email

18 chain between Sunny Balwani and representatives of BDT, produced in discovery starting with
19 Bates label THPFM0001146205.

20          6.      Attached hereto as Exhibit 5 is a true and correct copy of a November 4, 2014, email

21 from Elizabeth Holmes to Sunny Balwani, produced in discovery with Bates label THPFM0002167984,

22 and an attachment, a copy of a Schering-Plough-related report, produced in discovery starting with Bates

23 label THPFM0002167987.

24          7.     Attached hereto as Exhibit 6 is a true and correct copy of Trial Exhibit 4859, produced in

25 discovery with Bates label RDV012671.

26          8.     Attached hereto as Exhibit 7 is a true and correct copy of a November 8, 2014, email

27 from Elizabeth Holmes to Sunny Balwani, with a subject “RE: deffered rev”, produced in discovery

28 with Bates label THPFM0000842239.

     VOLKAR DECL. ISO U.S.’ OPP’N TO DEF. MTE RE: PHARMA REPORTS,
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 1          9.     Attached hereto as Exhibit 8 is a true and correct copy of Trial Exhibit 5661, a

 2 December 13, 2014, email from Sunny Balwani to Elizabeth Holmes and Danise Yam, with a subject

 3 “RE: deferred revenue balance”, produced in discovery with Bates label THPFM0000675002.

 4          10.    Attached hereto as Exhibit 9 is a true and correct copy of an October 27, 2015, email

 5 from Elizabeth Holmes to Ryan Toohey, copying Sunny Balwani among other individuals, produced in

 6 discovery with Bates label THPFM0001137378.

 7          11.    I declare under penalty of perjury under the laws of the United States of America that the

 8 foregoing is true and correct and that this declaration is executed at San Jose, California, on March 7,

 9 2022.

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11 DATED: March 7, 2022

12
                                                                 /s/ Kelly I. Volkar
13                                                               KELLY I. VOLKAR
                                                                 Assistant United States Attorney
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     VOLKAR DECL. ISO U.S.’ OPP’N TO DEF. MTE RE: PHARMA REPORTS,
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